      Case 1-24-41125-ess             Doc 23       Filed 05/03/24        Entered 05/03/24 16:12:58




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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                                                                  :
  IN RE:                                                          :    CASE NO.: 1-24-41125-ess
                                                                  :
                                                                  :    CHAPTER: 11
  Fraleg Jefferson Corp dba Fraleg Quincy Corp                    :
  dba 931 Lincoln Place Corp,                                     :    HON. JUDGE:
                                                                  :    Elizabeth S. Stong
                                                                  :
  Debtor.                                                         :    HEARING DATE: May 31, 2024
                                                                  :    at 10:30 am
                                                                  :

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        NOTICE OF MOTION FOR IN REM RELIEF FROM AUTOMATIC STAY

        PLEASE TAKE NOTICE, that upon the application of Lima One Capital as servicer for

Wilmington Trust, N.A., not in its individual capacity, but solely as trustee of MFRA Trust 2016-

1 (together with any successor or assign, “Movant”), the undersigned shall move this Court for an

Order, pursuant to 11 U.S.C. § 362(d)(4), for in rem relief from the automatic stay with respect to

the real property 173 Quincy Street, Brooklyn, NY 11216; pursuant to 11 U.S.C. § 362 (d)(1) and

(d)(2); vacating the automatic stay to permit Movant, its successors and/or assigns, to enforce its

mortgage on the Debtor`s premises; granting Movant reasonable attorney fees and costs; and

granting Movant such other and further relief as is just and proper.

        This motion shall be heard at the United States Bankruptcy Court, Eastern District of New

York, Conrad B. Duberstein Courthouse, 271-C Cadman Plaza East - Suite 1595, Courtroom 3585,

Brooklyn, NY 11201 on the 31st day of May, 2024 at 10:30 A.M., or as soon thereafter as counsel

may be heard.
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       All hearings before Judge Stong will be conducted by telephone, video or in person, as the

Court deems appropriate. For remote hearings, whether telephonic or video, it is not necessary to

contact the Courtroom Deputy to request prior authorization to appear remotely.

       Whether the hearing is in person or remote, please use eCourt Appearances to register to

appear at a hearing. To register, please provide your name, address, e-mail address, telephone

number on the hearing date, and the party that you represent, if applicable. Please be sure to register

at least two business days before your hearing. For remote hearings, you will receive instructions

on how to access the hearing via e-mail two business days before the hearing. On your hearing

date, please connect at least ten minutes before your scheduled hearing time and keep your audio

and video on mute until your case is called. April 29, 2024

       If you have a CM/ECF account, you may access eCourt Appearances in the “Utilities”

menu after logging into CM/ECF. Alternatively, you may access eCourt Appearances on the

Court’s website at https://ecf.nyeb.uscourts.gov/cgi-bin/nyebAppearances.pl. In the event that you

are not able to register online, you may call or email Judge Stong’s courtroom deputy for

instructions at (347) 394-1864, ess_hearings@nyeb.uscourts.gov, at least two (2) business days

prior to the hearing date.

       Additional information about eCourt Appearances, including a tutorial on how to use the

program, is available at https://www.nyeb.uscourts.gov/registering-remote-hearing-appearance-

using-ecourt-appearances.           For         more          information,          please         see

https://www.nyeb.uscourts.gov/content/judge-elizabeth-s-stong.
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       PLEASE TAKE FURTHER NOTICE, that answering affidavits, if any, must be served

so as to be received not later than seven (7) days before the return date of this motion.




Dated: Garden City, New York
       May 3, 2024                            By: /s/ _Michael L. Carey
                                              Michael L. Carey, Esq.
                                              FRIEDMAN VARTOLO LLP
                                              Attorneys for Movant
                                              1325 Franklin Avenue, Suite 160
                                              Garden City, NY 11530
                                              T: (212) 471-5100
                                              F: (212) 471-5150

TO:

Fraleg Jefferson Corp dba Fraleg Quincy Corp
dba 931 Lincoln Place Corp
45 Main Street, Suite 518
Brooklyn, NY 11201
Bankruptcy Debtor

Francis E. Hemmings
Hemmings & Snell LLP, 30 Wall Street , 8th Floor
New York, NY 10005
Debtor’s Attorney

United States Trustee
One Bowling Green, Room 510
Alexander Hamilton Custom House
New York, NY 10004
United States Trustee

Andy Alege
300 Herkimer Street, Floor 1
Brooklyn, NY 11216

Andy Alege
173 Quincy Street
Brooklyn, NY 11216
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IRP Fund II Trust 2A
1155 F Street NW
Suite 1705
Washington, DC 20004

CDC Small Business Finance
2448 Historic Decatur Road, Suite 200
San Diego, CA 92106

PINCUS LAW GROUP, PLLC
Sherri J. Smith, Esquire
425 RXR Plaza
Uniondale, New York 11556

Commonwealth Capital
99 Washington Avenue
Albany , NY 12231

Michele Fletcher
600 National Harbor Blvd
Oxon Hill, MD 20745

New York City Department of Finance
100 Church Street, 1st Floor
New York, NY 10007

New York State Department of Taxation and Finance
W.A. Harriman Campus, Building 9
Albany, NY 12227

New York Environmental Control Board
100 Church Street
New York, NY 10007
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  Fraleg Jefferson Corp dba Fraleg Quincy Corp                    :
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                                                                  :    Elizabeth S. Stong
                                                                  :
  Debtor.                                                         :    HEARING DATE: May 31, 2024
                                                                  :    at 10:30 am
                                                                  :

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                        MOTION FOR IN REM RELIEF FROM THE
                     AUTOMATIC STAY REGARDING REAL PROPERTY

                 I, Michael L. Carey, Esq., an attorney at law admitted to practice before

the Courts of the State of New York and the U.S. Bankruptcy Court for the Eastern

District of New York, hereby certify the following to be true and correct under penalty

of perjury:

        Lima One Capital as servicer for Wilmington Trust, N.A., not in its individual

capacity, but solely as trustee of MFRA Trust 2016-1 (together with any successor or

assign, “Movant”) hereby moves this Court for an Order: pursuant to 11 U.S.C. §

362(d)(4), for in rem relief from the automatic stay with respect to the real property 173

Quincy Street, Brooklyn, NY 11216; pursuant to 11 U.S.C. § 362 (d)(1) and (d)(2);

vacating the automatic stay to permit Movant, its successors and/or assigns, to enforce its

mortgage on the Debtor`s premises; granting Movant reasonable attorney fees and costs;
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and granting Movant such other and further relief as is just and proper. In support of this

Motion, Movant respectfully states:


                                    BACKGROUND
        1.     Movant is a secured creditor of the Debtor pursuant to a Note executed by Fraleg

Quincy Corp. (the “Debtor”) on August 29, 2019, whereby the Debtor promised to repay

$1,650,000.00 plus interest to Tam Lending Center, Inc. (the “Note”). To secure the repayment of

the Note, Fraleg Quincy Corp. executed a Mortgage (the “Mortgage,” Note and Mortgage,

collectively, the “Loan”) in favor of TAM Lending Center, Inc., which was recorded on September

4, 2019, in the Kings County Clerk’s Office as CRFN No. 2019000283805 (the “Mortgage”)

encumbering the Property. The Loan was ultimately assigned to Movant by an assignment of

mortgage recorded on May 8, 2020 (the “Assignment of Mortgage”). Copies of the Note, Mortgage

and Assignments of Mortgage are attached hereto as Exhibit A.

        2.     As the Debtor became delinquent under the terms of the Loan, a foreclosure action

was commenced in the Supreme Court of the State of New York, County of Kings under index

number 513873/2021. Subsequently, a Judgment of Foreclosure and Sale (the “JFS”) was entered

on November 01, 2022. A copy of the entered JFS is annexed hereto as Exhibit B.

        3.     For the convenience of the Court and all parties, below is a chart listing the multiple

bankruptcy filings affecting the Property:
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Debtor Name             Case Number       Foreclosure          Date                Case Dismissal       Date of Canceled
                                          Status               Bankruptcy          Date and             Foreclosure Sale,
                                                               Filed               Reason               if applicable
931 Lincoln             1-23-42033-ess    Stayed sale          06/08/2023          08/07/2023,          06/08/2023
Place Corp dba                            scheduled for                            Failure to be
Fraleg Quincy                             06/08/2023                               represented by
Corp                                                                               counsel
Fraleg Quincy           1-23-44383-ess    Stayed sale          11/30/2023          01/25/2024,          11/30/2023
Corp                                      scheduled for                            Failure to be
                                          11/30/2023                               represented by
                                                                                   counsel
Fraleg Jefferson        1-24-41125-ess    Stayed sale          03/14/2024          Active filing        03/14/2024
Corp dba Fraleg                           scheduled for
Quincy Corp dba                           03/14/2024
931 Lincoln
Place Corp


                    4.      As the above chart shows, three (3) of scheduled foreclosure sales have been

         cancelled due to the three (3) of filings.

                    5.      As indicated, the Debtor had a total of three (3) cases pending before the Court

         since 2023. Both prior cases were filed on the day of the scheduled sale and both filings were

         dismissed for failure to have representation by counsel.

                   6.        There have been a total of three (3) recent bankruptcies filed by this Debtor and

         the Borrower, and Movant’s scheduled foreclosure sales have been repeatedly cancelled due to

         these last-minute filings. These repeat filings by the same parties, when coupled with the repeating

         dismissals, give rise to the inference that the repeat filings are a scheme to hinder, delay, or defraud

         Movant in exercising its state law rights. Accordingly, Movant now seeks an Order pursuant to 11

         U.S.C. § 362(d)(4), vacating the automatic stay and granting in rem relief from stay with respect to

         the property. Copies of the PACER dockets are annexed hereto as Exhibit C.

                   7.        Copies of the Notices of Sale for the aforementioned, scheduled foreclosure sales

         are annexed hereto as Exhibit D.
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         8.      Pursuant to 11 U.S.C. § 362(d)(4), courts are empowered to grant in rem relief from

a stay affecting a creditor’s property, such that any and all future filings by any party with a claimed

interest in the property will not operate as an automatic stay for a period of two years. See, e.g., In

re Wilke, 429 B.R. 916, 922 (Bankr. N.D. Ill. 2010); In re Blair, 2009 WL 5203738, *4 (Bankr.

E.D.N.Y. 2009); In re Montalvo, 416 B.R. 381, 387 (Bankr. E.D.N.Y. 2009).

         9.      Because the stay attaches to the property, rather than to the filing parties, “in rem

relief is a particularly effective method to combat tag-team serial filers who seek to prevent

foreclosures.” In re Selinsky, 365 B.R. 260, 264 (Bankr. S.D.Fla. 2007); see In re Roeben, 294

B.R. 840, 846 (Bankr. E.D.Ark. 2003); In re Graham, 1998 WL 473051, *2 (Bankr. E.D.Penn.

1998).

         10.     To obtain in rem relief, a creditor must provide evidence that: (i) a debtor or a group

of debtors has made prior bankruptcy filings as part of a scheme; (ii) the object of which was to

delay, hinder, or defraud creditors; and (iii) which involves either the transfer of some interest in

the real property without the secured creditor’s consent or court approval or multiple bankruptcy

filings affecting the property. See In re First Yorkshire Holdings, Inc., 470 B.R. 864, 870-71 (7th

Cir. BAP 2012). Further, it is well-settled that the mere timing and filing of multiple prior

bankruptcy cases by related debtors permits the inference of a scheme to hinder, delay, and defraud

a creditor. See, e.g., Blair, 2009 WL 5203738 at *4, citing Montalvo, 416 B.R. at 38.

         11.     Analyzing a similar set of circumstances, the Court in Blair (id. at *4-5) granted

in rem relief and found that:

          Here, Debtors have neither filed nor confirmed a chapter 13 plan. None
          of their chapter 13 cases were prosecuted to any meaningful extent. The
          timing and sequence of the filings is also significant. Each was filed on
          the eve of or shortly before significant events affecting the Property. The
          uncontroverted record of the filings and lack of any good faith prosecution
          of each of Debtors’ prior cases allows this Court to draw a permissible
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          inference and find that the instant petitions were part of a scheme of
          Debtor to hinder, delay, and defraud [creditor] BAC.


          Therefore, this Court will enter an Order such that any future bankruptcy
          filings by either of the Debtors, or any other person having an interest in
          the Property, will not operate as a stay of any action against the Property
          for a period of two years after the date of the entry of the orders hereon.


         12.    Furthermore, the Court may draw an inference of foreclosure delay from timing

and existence of multiple filings alone, without analyzing the debtors’ conduct during the cases.

The “conduct of the debtor while in bankruptcy is less relevant than the actual timing and

existence of multiple filings. The existence of multiple filings on the eve of foreclosure alone…is

sufficient to establish a presumption of a scheme to hinder or delay the creditor, subject to the

debtor`s right to challenge this presumption.” In re Merlo, 646 B.R. 389, 395 (Bankr. E.D.N.Y.

2022).

         13.    In this case, the frequent and largely unprosecuted filings demonstrate a clear

pattern of delay designed to frustrate resolution of the underlying foreclosure. The instant

petition is nothing more than a stall tactic to delay, hinder, and frustrate Movant in exercising its

foreclosure rights.

         14.    Additionally, the account remains due for the total payoff of $2,878,265.49 as of

March 31, 2023 as the loan matured on September 1, 2020. Therefore, relief from stay is also

warranted for cause pursuant to 11 U.S.C. § 362(d)(1). A copy of the EDNY worksheet is

attached as Exhibit E.

         15.    Pursuant to 11 U.S.C. § 362(d)(1), the court shall enter an order granting a

secured creditor relief from the automatic stay for cause “including the lack of adequate

protection of an interest in property of such party and interest.”

         16.    Specifically, courts have found cause for the granting of relief from an automatic
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stay where the debtor has failed to make post-petition mortgage payments as they become due. In

Re Taylor, 151 B.R. 646, 648 (Bankr. E.D.N.Y. 1993).

       17.       Relief pursuant to 11 U.S.C. § 362(d)(2) is also appropriate due to the lack of

equity in the Property. According to the Broker’s Price Opinion obtained by the Movant dated

May 15, 2023, the Property has an estimated value of $2,235,000.00. Accordingly, there is no

equity remaining in the Property. A copy of the Broker’s Price Opinion is annexed hereto as

Exhibit F.

       18.       Fed. R. Bank. Pro. 4001(a)(3) provides that “any order granting movant relief

from an automatic stay is stayed until the expiration of 14 days after the entry of the order unless

the court orders otherwise.

       19.       In light of the history of filings and the negative impact on Movant’s lawful right

to sell the Mortgaged Premises pursuant to the Final Judgment (see Exhibit B), no legitimate

purpose could be served by staying the requested relief any longer. The debtor clearly has no

intention of participating in the bankruptcy process and therefore should not reap its benefits.

Therefore, Movant is entitled to a waiver of the stay provision of Fed. R. Bankr. Pro. 4001(a)(3).

       20.       Movant respectfully requests $1,050.00 in reasonable attorney fees and $199.00

in filing costs associated with the preparation and filing of this Motion.

       WHEREFORE, it is respectfully submitted that this Court should grant Movant’s Motion

for Relief in all respects, along with such other and further relief as is deemed to be just, proper,

and equitable.
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Dated: Garden City, New York
       May 3, 2024                       By: /s/ _Michael L. Carey
                                         Michael L. Carey, Esq.
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